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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

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UNITED STATES OF AMERICA               :   Hon. Douglas E. Arpert

            v.                         :   Mag. No. 21-6024 (DEA)

JEREMY LO                              : SECOND CONTINUANCE ORDER



      This matter having come before the Court on the joint application of

Rachael Honig, Acting United States Attorney for the District of New Jersey

(by Eric Suggs, Assistant United States Attorney), and defendant Jeremy Lo (by

Lisa Van Hoeck, Esq., counsel for the defendant), for an order granting a

continuance of the proceedings in the above-captioned matter from the date of

this order through January 23, 2022, and the defendant being aware that he

has the right to have the matter submitted to a grand jury within 30 days of

the date of his arrest pursuant to Title 18 of the United States Code, Section

3161(b), and the defendant through his attorney having consented to the

continuance, and one prior continuance having been granted by the Court;

and for good and sufficient cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be

continued for the following reasons:

            1.    Plea negotiations may soon commence, and both the United

                  States and the defendant seek time to achieve a successful
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                 resolution of these negotiations, which would render trial of

                 this matter unnecessary;

            2.   Defendant has consented to the aforementioned continuance;

            3.   The grant of a continuance will likely conserve judicial

                 resources; and

            4.   Pursuant to Title 18 of the United States Code,

                 Section 3161(h)(7), the ends of justice served by granting the

                 continuance outweigh the best interests of the public and the

                 defendant in a speedy trial.

                               20th day of October, 2021,
      WHEREFORE, it is on this ____

      ORDERED that the proceedings scheduled in the above-captioned matter

are continued from October 25, 2021 to January 23, 2022;

      IT IS FURTHER ORDERED that the period from October 25, 2021

through January 23, 2022, shall be excludable in computing time under the

Speedy Trial Act of 1974.

                                    _____________________________________
                                    HONORABLE DOUGLAS E. ARPERT
                                    UNITED STATES MAGISTRATE JUDGE

Consented and Agreed By:


______________________
Lisa Van Hoeck
Assistant Federal Public Defender
Counsel for Defendant


s/ Eric Suggs
Eric Suggs
Assistant United States Attorney

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